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Exhibit 41
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

MDL DOCKET NO. 1629

MASTER FILE NO. 04-10981

IN RE: NEURONTIN MARKETING, SALES }
PRACTICES, AND PRODUCTS LIABILITY }
LITIGATION }
THIS DOCUMENT RELATES TO: )

ALL ACTIONS }

Videotaped Deposition of RAYMOND 8.
HARTMAN, taken before GREG g, WEILAND, CSR, RMR,
CRR, Notary Public, pursuant to the Federal Rules of
Civil Procedure for the United States District Court
pertaining to the taking of depositions, at
Suite 3800, One South Dearborn Street, in the City
of Chicago, Cook County, Illinois, commencing at
9:19 o'clock a.m., on the 13th day of December,

2006.

 

 

 
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NNNNNKRHP PEEP EP ep Ep
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millions of claims and looking at the electronic
rollouts of claims that have been paid by PBMs and
paid by third-party payors, paid by the government,
so I've certainly seen the kind of information and
look at the financials of wholesalers, PBMs,
third-party payors. I've done it as a client, as

being retained by them, but I've looked at how that
process works and familiar with it.

Q. Fair enough. The work that you've done I
guess could probably be described as after-the-fact
analysis of prescription reimbursement as opposed to
actual participation in the process?

A. Well, I've not paid claims or been part of
the paying of claims or worked for a third-party
payor or for a PBM, so that's correct.

Q. Okay. And you've never worked directly or
indirectly for the FDA; is that right?

A. That's correct.

Q. Have you ever taken Neurontin?

A. LThave.

Q. For what condition?

A. Fora chronic pain condition. It was
prescribed.

Q. When did you take the drug?

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A. Well, my doctor and I have discussed --
I've gone off, I've gone on, and with different
other medications, and it's a continual balancing
act.

Q. You're aware, I assume, from your work in
this case that your prescription for Neurontin is
off-label?

A. Tam,

Q. One last question on it,

Do you pay for your Neurontin prescription
yourself, or is it paid for by an insurance plan of
some kind?

A. It's paid for by a third-party payor and a
copay by myself obviously.

Q. So you're a member of the individual
consumer subclass in this case; is that correct?

A. I guess Iam.

Q. And so if there were a recovery in this
case, you would be entitled to receive some amount
of damages?

A. I guess that's true.

Q. Have you given any thought to what the
amount of damages would be that you would recover if
plaintiffs were successful in this case personally?

 

 

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A. There was a period of time starting a
number of years ago.

Q. How long was the period of time?

A. It continues,

Q. So you're taking Neurontin currently?

A. While I'm sitting here I'm on Neurontin.

Q. So how long in the aggregate have you been
taking Neurontin?

A. Several years.

Q. Tassume that since you've continued to
take it for several years that it's been effective
for you?

A. Well, I'm taking it with a mix. I've had
a chronic pain problem for 20 years, and I've
been -- tried different medications to help with it,
and I've gone on and off medications, and so there's
a mix of medication that's being tried now, and the
mix is effective. I'm not sure which is the
effective part of it, but ...

Q. Okay. But Neurontin is part of that mix?

A. That's correct,

Q. Ifyou didn't think it was effective,
would you have told your doctor that you didn't want
to keep taking the drug?

 

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A. My guess would be, as with most of these
class action matters in which I receive mailings, I
would receive -- I would receive nothing since I
wouldn't pay attention to the mailings. But if
it --

Q. Did you testify that in some cases maybe
you did send -- maybe you didn't.

A. I think in some cases I did and in some --
but that was when I was a younger man and I thought
there was some benefit to doing so.

Q. Do you now think there isn't a benefit of
doing so?

A. No, I've thought that the opportunity cost
of taking the time to do it is more than the
recovery for me individually.

So it's -- so, you know, the copays, you
know, they would amount to in the hundreds of
dollars I would assume over time.

Q. What's the -- well, withdrawn.

Do you have any understanding for the
reasons that your doctor prescribed you Neurontin as
part of the mix of medications that you've been
taking?

MR. MATTHEWS: Objection.

 

 

6 (Pages 18 to 21)
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981

KOR KR RRR KR KK KR KR KR KR RR RRR KEK RR KR KEKE KEKE

In Re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION,

KOR KR KK RK RRR KR KR RK KR KK RR KEK KKK EK KE EEK E

THIS DOCUMENT RELATES TO:

KR KR RR KR RR KR RR RR RK KR KKK KKK KER ERE EK KEEEE

HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY
COMPANY, dba BLUECROSS/BLUESHIELD OF
LOUISIANA; INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL NO. 68
WELFARE FUND; ASEA/AFSCME LOCAL 52
HEALTH BENEFITS TRUST; GERALD SMITH;
and LORRAINE KOPA, on behalf of
themselves and all others similarly
Situated, v. PFIZER INC. and
WARNER~LAMBERT COMPANY.

KOR KR KR RRR Rk RR KR KR KK RK RRR KEKE KEES

THE GUARDIAN LIFE INSURANCE COMPANY
OF AMERICA v. PFIZER INC. and

AETNA, INC. v. PFIZER, INC.

KOR KR RK RRR KR KR RRR KKK RRR KKK KK ERK AK KKK KEKE

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

KOR RK RRR KR KR KR RR OR RK KR RR KKK RK KER KKK KKK EK

In Re: NEURONTIN PRODUCT LIABILITY
LITIGATION

ORR ROOK Kk RR Rk kk kk RRR KR Tndex No.
THIS DOCUMENT APPLIES TO: 765000/06

ALL CASES

 

 
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NNNNNE PEP RP BBP BB BEB
PwWYKND PrP OW MBIHDHUH BWNH OW

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counsel instructed you that recoverable damages
in this case consist of the entire amount that
class members paid for any prescriptions caused
by alleged improper promotion?

A. That's correct.

Q. So, in essence, you're calculating
what would amount to a full refund of the price
of the quantities that were calculated by
Professor Rosenthal, is that correct?

A. That's correct.

Q. Am I correct that you don't consider
any issues of efficacy or effectiveness of
Neurontin in reaching your damages estimates?

A. Well, the basis for the theory, as I
understand it, is the FDA definition of
efficacy, and that if there is a prescription
for a use for which the FDA has not found
efficacy, then what I've been instructed to do
is calculate the damages as the full refund.

Q. So to the extent that some of the
Neurontin prescriptions calculated by Professor
Rosenthal were effective or efficacious for
particular class members, I take it that you
don't seek to carve those out in any way from

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negative effect, I've not been asked to
calculate that either.

I haven't been asked to calculate
positive or negative effects of Neurontin,
except for I've been asked to take the FDA
findings for efficacy as the basis, and anything
that's not efficacious according to the FDA or
negatively or positively has an effect, I
don't -- I haven't been asked to quantify that.

Q. Okay. So to stick with my example, if
there were benefits, that's not something that
you've at all been asked to look at?

A. [haven't been asked to look at any
additional effects that Neurontin may have had,
positive or negative.

Q. Okay. Dr. Hartman, are you still
taking Neurontin?

A. lam.
Q. Are you taking it today?
A. Tam.

Q. Are you continuing to take it for your
chronic pain condition?

A. It has been prescribed to me with a
mix of drugs that I've been taking for a while

 

 

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the damages estimates that you put forward, is
that right?

MR. NOTARGIACOMO: Objection.

A. Ihave not sought to try and calculate
some measure of efficacy for those indications
that the FDA has found that they're not
efficacious.

BY MR. MISHKIN:

Q. So, for example, you're not seeking
to -- or your method doesn't in any way try to
reduce damages to something less than a full
refund to reflect any potential benefits that
class members may have received from Neurontin?

A. Well, the directions that I've been
given are as a matter of law, it's a full
refund.

Now, if there were -- if there
conceivably could be some benefits, I've been
told that's not part of the theory, unless the
FDA has found that it's efficacious,

Likewise, if there have been serious
negative impacts of, say, prescribing of
Neurontin for bipolar where someone commits
suicide or something where there's a serious

 

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for a chronic pain condition, that's correct.

Q. And have you taken Neurontin
continuously since your deposition in the
Pennsylvania Clark case in June, 2008?

A. Thave.

Q. Let's take a look at the tables in
your report starting with Table B.1.

Table B.1 is called "Brand Neurontin
Retail Price Calculation," is that right?

A. That's correct,

Q. On this table you come up with an
average price of non-Medicaid Neurontin
prescriptions by quarter?

A. That's correct. And I'm -- as we talk
through the tables it might be useful to have
B.10 at the ready, because I haven't memorized
all the elements in each of these tables.

But yes, that's right.

Q. Fair enough.

And for the record, B.10 is where you
have your calculation notes that explain more
specifically what each column is calculating?

A. That's correct.

Q. So absolutely, as I ask these

 

 

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